Case 18-02612-jw   Doc 35   Filed 02/01/19 Entered 02/01/19 16:56:33   Desc Main
                            Document      Page 1 of 10
Case 18-02612-jw   Doc 35   Filed 02/01/19 Entered 02/01/19 16:56:33   Desc Main
                            Document      Page 2 of 10
Case 18-02612-jw   Doc 35   Filed 02/01/19 Entered 02/01/19 16:56:33   Desc Main
                            Document      Page 3 of 10
Case 18-02612-jw   Doc 35   Filed 02/01/19 Entered 02/01/19 16:56:33   Desc Main
                            Document      Page 4 of 10
Case 18-02612-jw   Doc 35   Filed 02/01/19 Entered 02/01/19 16:56:33   Desc Main
                            Document      Page 5 of 10
Case 18-02612-jw   Doc 35   Filed 02/01/19 Entered 02/01/19 16:56:33   Desc Main
                            Document      Page 6 of 10
Case 18-02612-jw   Doc 35   Filed 02/01/19 Entered 02/01/19 16:56:33   Desc Main
                            Document      Page 7 of 10
Case 18-02612-jw   Doc 35   Filed 02/01/19 Entered 02/01/19 16:56:33   Desc Main
                            Document      Page 8 of 10
Case 18-02612-jw   Doc 35   Filed 02/01/19 Entered 02/01/19 16:56:33   Desc Main
                            Document      Page 9 of 10
Case 18-02612-jw   Doc 35    Filed 02/01/19 Entered 02/01/19 16:56:33   Desc Main
                            Document      Page 10 of 10
